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           In the United States Court of Federal Claims
                                            No. 93-655C
                                        Filed: April 18, 2025


 ANAHEIM GARDENS, et al.,

                     Plaintiffs,

 v.

 THE UNITED STATES,

                     Defendant.


                                              ORDER

        On April 15, 2025, the United States moved to extend expert discovery deadlines by
thirty (30) days. (ECF No. 831). Plaintiffs do not oppose the Motion. (See Def.’s Mot. at 1). For
good cause shown, the Court GRANTS the Defendant’s Motion and ORDERS the parties to
adhere to the following revised schedule:

                                                   April 24, 2025, at 10:00 AM at the
 Motion Hearing
                                                   Howard T. Markey National Courts Building
 Initial Meeting of Counsel                        May 13, 2025
 Exchange of Witness and Exhibit Lists             May 19, 2025
 Initial Pretrial Conference                       May 20, 2025, at 1:00 PM (Telephonic)
 Exchange of affirmative expert reports            May 23, 2025
 Objections to Witness and Exhibit Lists           June 2, 2025
 Replies to Objections to Exhibit and Witness
                                                   June 16, 2025
 Lists
 Motions in limine                                 June 23, 2025
 Responses to Motions in limine                    July 7, 2025
 Exchange of rebuttal expert reports               July 7, 2025
 Replies to Motions in limine                      July 14, 2025
 Close of Expert Discovery and Filing of
                                                   July 21, 2025
 Pretrial Memoranda
                                                   July 22, 2025, at 11:00 AM at the
 Final Pretrial Conference
                                                   Howard T. Markey National Courts Building
 Meeting of Counsel                                July 24, 2025
 Joint Exhibit List, Joint Stipulation of Facts,
                                                   July 28, 2025
 and Joint Statement of Good Faith
 Order of Witnesses for all SWPs                   August 8, 2025
                                                   August 11, 2025, at 9:00 AM at the
 Trial begins
                                                   Howard T. Markey National Courts Building
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IT IS SO ORDERED.

                                               s/  David A. Tapp
                                               DAVID A. TAPP, Judge




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